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HONORABLE SAMUEL J. STEINER

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF WASHINGTON

In re
BANKRUPTCY NO. 09-16841 (Ch. 7)
MICHAEL R. MASTRO, ADVERSARY NO.

Debtor. COMPLAINT SEEKING l) AVOIDANCE
OF FRAUDULENT CONVEYANCES
AND FRAUDULENT TRANSFERS
JAMES F. RIGBY, JR., Trustee, solely in his capacity UNDER RCW 19.40; ll U.S.C. 544 AND
as Chapter 7 trustee of the bankruptcy estate of ll U.S.C. 548; 2) QUIET TITLE WITH
Michael R. Mastro, RESPECT TO MASTRO MEDINA
RESIDENCE; MASTRO JEWELRY AND
Plaintiff, MASTRO ROLLS ROYCE 3)
v. INJUNCTIVE RELIEF; AND 4)
PRESERVATION OF AVOIDED
l\/IICHAEL R. MASTRO', LINDA A. MASTRO; TRANSFERS FOR BENEFIT OF ESTATE
MICHAEL K. l\/IASTRO and JANE DOE MASTRO',
husband and wife and the marital community
composed thereof; LCY, LLC, a Delaware limited
liability coiporation; MASTRO REVOCABLE
LIVING TRUST; MASTRO IRREVOCABLE
TRUST', LCY, LLC-SERIES HOMES; LCY, L'LC-
SERIES JEWELRY; LCY, LLC-SERIES
AUTOMOBILES; THE LCY TRUST, a trust
purported to be formed in Belize; and COMPASS
TRUST CORPORATION, a trust of unknown origin
using an address in Belize City, Belize; COMPASS
S.A.; CONCEPT DORSSERS, a purported Monaco
company', and FOUNDATION MANAGEMENT

 

 

 

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INC., a Washington corporation,

Defendants.

 

 

 

JAMES RIGBY ("Trustee“), solely in his capacity as Chapter 7‘ Trustee of the bankruptcy
estate of Michael R. Mastro ("Mastro“), by and through his attorneys, Bush Strout & Kornfeld, for the
benefit of creditors of the above-captioned bankruptcy estate, seeks to avoid the transfer of the
Debtor's interest in real property, jewelry and vehicles, made or caused to be made by the defendants
herein within two years prior to the bankruptcy, to quiet title in the estate as to assets fraudulently
conveyed, to enjoin certain parties from proceeding with foreclosure, and to obtain judgments against
parties who have conspired with the debtor in furtherance of fraudulent conveyances

I. INTRODUCTION

Within the eighteen months prior to the bankruptcy, the real estate market (the most important
predictor of Mastro's business profitability) was experiencing a severe and unprecedented downturn.
During this time, Mastro and certain other Defendants herein, through a series of transfers designed to
place l\/Iastro's most valuable assets out of the reach of his creditors, took the following actions:

A. Through a series of transactions transferred ownership of the Debtor's then-
unencumbered residence, for which the Debtor had paid $15,000,000 in 2006, to a Delaware entity
purportedly controlled by an offshore Belizean trust in exchange for no consideration;

B. Purported, post-transfer, to encumber the Mastro residence with two deeds of trust
totaling $15,000,000 in favor of entities to which no underlying debt is owed and that gave no

consideration in exchange for the deeds of trust.

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C. Transferred ownership of substantial and valuable jewelry, including a 27.8 carat
diamond ring, to a Delaware entity purportedly controlled by an offshore Belizean trust in exchange
for no consideration

D. Transferred ownership of a 2008 Rolls Royce, purchased for 3400,000 in 2008, to a
Delaware entity purportedly controlled by an offshore Belizean trust in exchange for no consideration

These transfers were made to hinder, delay and defraud l\/lastro‘s creditors The Trustee
alleges as follows:

II. JURISDICTION AND VENUE
2.1 This is matter is a core proceeding under 28 U.S.C. §lS'/'(b)(2)(}3), (C), (E), (H), (K)

ana (o).

2.2 This Court has jurisdiction to hear this complaint pursuant to 28 U.S.C. §lS'/‘(a) and

(b), l334(a) and (b), and ll U.S.C. §§105, 544, 548, 550 and 551.

2.3 This matter has been referred to the Bankruptcy Judges of the District pursuant to
General Rule 7 of the Rules for the United States Distn`ct Court for the Western District of

Washing'ton.
2.4 Venue is proper under 28 U.S.C. §1409.

Ill. PARTIES
3.1 Mr. An involuntary Chapter 7 bankruptcy petition was filed against Michael R.
Mastro (“l\/lastro" or “Debtor”) on July 10, 2009. On August 21, 2009, the Bankluptcy Court entered
an Order for Relief and Judgment Granting Petition for Involuntary Chapter 7' petition. On August 20,

2009, Mastro filed a First Amended Answer and Consent to Entry of Order for Relief under Chapter 7

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of the Bankruptcy Code and a Second Amended Answer and Consent to Entry of Order for Relief

under Chapter 7 of the Bankruptcy Code.

3.2 Trustee. J ames Rigby (“Rigby” or “Trustee”) was appointed Chapter 7 Trustee for
the Mastro estate on August 21, 2009. The Trustee is authorized to bring this action pursuant to 11
U.S.C. §§l05, 544, 548, 550 and 551 and does so solely in his capacity as Trustee for the Mastro

estate.

3.3 Defendant Linda Mastro. Linda Mastro is the wife of Mastro and a resident of the state

of Washington.

3.4 Defendant Michael K. Mastro. Michael K. Mastro ("MKM") is the son of Mastro and,

 

upon information and belief, is a resident of the state of Washington.

3.5 Defendant Jane Doe Mastro. Jane Doe Mastro is the wife of Michael K. l\/Iastro and
together they form a marital community Upon information and belief, any acts done by Michael K.
Mastro were done for the benefit of the marital community Upon information and belief, Jane Doe

Mastro is a resident of the State of Washington.

 

3.6 Defendant LCY LLC is a Delaware Limited Liability Company established on

October 9, 2008.

3.7 Defendant LCY. LLC - Series Homes is a series purportedly organized pursuant to the

LCY, LLC Operating Agreement and Delaware law.

3.8 Defendant LCY, LLC - Series Jewelrv is purportedly organized pursuant to the LCY,

LLC Operating Agreement and Delaware law.

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3.9 Defendant LCY` LLC - Series Automobiles is a series purportedly organized pursuant

to the LCY, LLC Operating Agreement and Delaware law.
3.10 Defendant LCY Trust is the sole member of Defendant LCY1 LLC.
3.11 Defendant Compass Trust Corporation is the trustee of Defendant LCY Trust.

3.12 Defendant Concept Dorssers is a Monaco company that, upon information and belief,

 

does business in the State of Washington.
3.13 Defendant Foundation Managernent. Inc. is a Washington corporation

3.14 Mastro Revocable Living Trust is a trust purportedly formed by Mastro and Linda

 

Mastro on October 2, 2002.

3.15 Mastro Irrevocable Trust is a trust purportedly formed by an agreement dated August
21, 2008 between Mastro and Linda Mastro as grantors, and Mastro and Michael K. Mastro as co-

trustees.

3.16 Compass S.A. purports to be the Protector of Defendant LCY Trust as that term is

defined in the LCY Trust.
IV. BACKGROUND FACTS

4.l The Trustee seeks to avoid certain transfers and/or purported transfers of assets of the
Mastro bankruptcy estate made or caused to be made by Defendants Michael R. Mastro, Linda A.

Mastro and/or Michael K. Mastro from June 2008 through .

Mastro's Background

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4.2 Mastro is approximately 84 years old and has been engaged in the real estate

profession in the Seattle area and surrounding communities for decades

4.3 Mastro has been a prolific developer with respect to multi-family building lots, multi-

family structures and single-family lots and houses

4.4 By early 2008, well before the month of June, 2008, it was clear to Mastro and others
that single family residence development Was in catastrophic financial shape on a nation-wide basis
and l\/lastroJ as a very large investor in single-family real estate properties, was in deep and

inescapable financial trouble.

4.5 By June 2008, Mastro’s holdings in single-family lots and development real estate
were virtually all encumbered and Mastro was forced to pay interest on loans secured by assets which
were not salable. Mastro was losing money and was having to go out of pocket to pay banks and

"Friends and Family“creditors.

4.6 Over the years, Mastro has acquired distressed commercial real estate, improved and

sold it.

4.7 Mastro was a frequent hard money lender who engaged in numerous lending
transactions In that role, Mastro has become very experienced with the legal collection process and

has observed methods by which debtors attempt to conceal assets from their creditors
4.8 Mastro has also been involved in the construction of commercial real estate.

4.9 Mastro's bankruptcy schedules filed with the Bankruptcy Court on September 9, 2009

("Schedules") reflect total debt exceeding 85”/‘0,000,000.

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4.10 Many, if not substantially all, of the properties on Mastro's Schedules secure debt

exceeding the values attributed to them in the Schedules.
Acquisition and Transfers of the Mastro Medina Residence

4.]1 In 2006, Mastro and Linda Mastro acquired a residence located at 3435 Evergreen
Point Way, Medina, Washington ("Mastro Medina Residence"). Ex. A. The excise tax affidavit filed

in conjunction with the transaction states that the sale price was 815 million Ex. B.

4.12 No deed of trust was recorded against the Mastro Medina Residence in conjunction

with the Mastros' purchase thereof

4.13 l\/lastro and Linda Mastro held the unencumbered Mastro Medina Residence in the

name(s) of Michael R. Mastro and Linda Mastro until June 9, 2008.

4.14 On June 9, 2008, Mastro and Linda l\/lastro transferred the Mastro Medina Residence
into the Mastro Revocable Living Trust ("June 9, 2008 Transfer"). Ex. C. No consideration was

provided by the Mastro Revocable Living Trust in exchange for the transfer. Ex. D.

4.15 Seventy-four days later, on August 22, 2008, l\/Iastro, as trustee of the Mastro
Revocable Living Trust, deeded the Mastro Medina Residence to himself and Michael K. Mastro, co-
trustees of the Mastro Irrevocable Trust (August 221 2008 Transfer"). Ex. E. No consideration was

provided in exchange for this transfer. Ex. F.

4.16 A true copy of a document obtained by the Trustee purporting to be the August 21,

2008 Mastro lrrevocable Trust Agreement is attached hereto as Exhibit g.

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4.17 lt is not clear that the document does, in fact or in law, create an irrevocable trust.
Mastro and Linda Mastro are grantors and beneficiaries under the Trust. Mastro and Michael K.

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4.18 In addition to the Mastro Medina Residence, the August 22, 2009 Transfer to the
Mastro lrrevocable Trust included the l\/lastros’ former residence in Clyde Hill ("Mastro Clyde Hill

Property") and another property in the Seattle Highlands ("Mastro Seattle Highlands Property").

4.19 On October 10, 2008, 44 days after the August 22, 2008 transfer of the Mastro Medina
Residence to the Mastro lrrevocable Trust, Defendants Mastro and Michael K. Mastro, co-trustees of
the Mastro lrrevocable TrustJ transferred the Mastro Medina Residence to Defendant LCY, LLC-
Series Homes by execution of a quitclaim deed ("October 10, 2008 LCY Series Homes Transfer").
Ex. h. The October 10, 2008 LCY Series Homes Transfer was not recorded until 30 days later on

November 10, 2008. E.

4_20 Article VI.E.l of the Mastro lrrevocable Trust Agreement provides that no trust asset
shall be sold, exchanged or otherwise dealt with or disposed of for less than an adequate consideration

in money or money’s worth. Ex. G.

4_21 LCY, LLC-Series Homes provided no consideration in exchange for the October 10,

2008 LCY Series Homes Transfer. Ex. I.
Formation of the LCY Entities As Part of Mastro Plan to Protect His Assets

4.22 The Seattle firm of Vigal & Simon, lnc. ("Vigal & Simon") caused the quitclaim deed

relating to the October 10, 2008 LCY Series Homes Transfer to be recorded. Ex. G.

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4.23 Sometirne prior to the October 10, 2008 LCY Series Homes Transfer, Mastro's
bankruptcy counsel introduced Mastro to Mary Simon ("Simon"). Simon is a principal of Vi gal &

Simon.

4.24 At the first meeting of creditors in the above-captioned bankruptcy ("341 Meeting"),

Defendant Mastro testified that he had met with Simon about a dozen times

4.25 According to its website, Vigal & Simon provides, among other things, asset protection

planning services The Vigal & Simon website further provides as follows:

The principals of Vigal & Simon are on the board of directors of Compass Trust
Corporation and Compass Group Corporate Services in Belize City, Belize. All your
interests in Belize, whether tourism, real estate or other investments retirement or asset
protection can be handled through our office

Ex. J.

4.26 Simon holds herself out as a specialist in protecting assets

4.27 Attached hereto as Exhibit K is an article entitled" STP Business Alert No. 3" which
appears on the Specialty Technical Publishers website (STPUB.com). In the article, Simon describes

the following way of protecting assets:

First, create a Delaware series LLC and then hold the membership in each series
through a Belize asset protection trust. This structure imports the most protective laws
for asset protection from the most effective jurisdictions There is no waiting period
for the structure to become effective. In a tax neutral structure you are still deemed the
tax owner of the assets, so there is no concern for how this impacts the IRS.

4.28 Apparently in furtherance of the strategy Simon had described in the STP Business
Alert No. 3 article, Simon drafted certain documents for Mastro.
4.29 From documents obtained by the TrusteeJ it appears that Defendant LCY, LLC, a

Delaware limited liability company, was formed on or about October 10, 2008. Ex. L.

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4.30 According to the LCY, LLC Operating Agreement dated October 10, 2008 and,
according to documents provided to the Trustee, at the time of its formation LCY, LLC's sole
member was LCY Trust, acting through Compass Trust Corporation, as trustee. Ex. L.

4.31 William Vigal, a principal of Vigal & Simon, executed LCY, LLC Operating
Agreement on behalf of Compass Trust Corporation, as trustee of the LCY Trust. l£l.

4.32 According to the Declaration of Trust, the LCY Trust was created on October 10, 2008,
by Compass Trust Corporation, a corporation of unknown origin Ex. M. Compass Trust Corporation
is referred to on the Vigal & Simon website and uses an address in Belize City, Territory of Belize.
Ex. N_

4.33 LCY, LLC - Series Homes, to which the Mastro Medina Residence was transferred
pursuant to the October 10, 2008 LCY Series Homes Transfer, was created on or about October 10,
2008, the same date that the LCY, LLC and the LCY Trust were created. Ex. N.

4.34 Defendant LCY, LLC - Series Jewelry was created on or about October lO, 2008, the
same date that the LCY, LLC and the LCY trust were created. Ex. O.

4.35 Defendant LCY, LLC - Series Automobiles was created on or about October 10, 2008,
the same date that the LCY, LLC and the LCY trust were created. Ex. P.

4.36 LLC - Series Homes, Series Jewelry and Series Autornobiles were created pursuant to
the LCY, LLC Operating Agreement.

4.37 The sole member of each Series is also the LCY Trust and each Series is governed by
the provisions of the LCY, LLC Operating Agreement.

4.38 As the sole member, the LCY Trust has total control over LCY, LLC and the LCY,

LLCY - Series Homes and thus total control over the Mastro Medina Residence.

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4.39 Compass Trust Corporation ("LCY Trustee") is named as the trustee of the LCY Trust,
however, every power granted to the LCY Trustee is qualified by requiring the consent of the
"Protector“ before the LCY Trustee can exercise such power.

4.40 The Protector under the LCY Trust is an entity with the name of Compass SA.

4.41 On October 10, 2009, Compass SA appointed Mastro to act as the Advisory Committee
for the Protector. Ex. Q.

4.42 In his capacity as Advisory Committee for the Protector under the LCY Trust, Mastro
has the right to veto any actions proposed to be taken by the Protector if it deems them "detrimental to
the best interests of the trust." E.

4.43 The stated purpose of the LCY Trust is to assure that the trust assets are available for
the use of Mastro and Linda Mastro.

4.44 The asset of the LCY Trust is the 100% interest in LCY, LLC which, in turn, through
the Series, holds the Mastro Medina Residence, the Mastro Jewelry (defined below) and the Mastro
Rolls Royce (defined below).

4.45 Mastro and Linda Mastro were the managers of both the LCY, LLC and the LCY, LLC
- Series Homes at their inception

4.46 On May 15, 1009, Compass Trust Corporation removed the Mastros as managers This
action would have had to have the approval of Mastro, as advisor to the Protector of the LCY Trust.

Transfer of Mastro Jeweer and Mastro Rolls Royce to LCY. LLC Series

4.47 At or about the same time of the transfer of the October 10, 2008 LCY Series Homes
Transfer of the Mastro Medina Residence, Mastro and Linda Mastro, caused jewelry (the "Mastro
Jewelry"), including the following, to be transferred into the LCY, LLC- Series Jewelry ("Mastro

Jewelry Transfer"):

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a. One platinum ring with 27.80 carat pear shape diamond;

b. One 14 karat white gold ring with 15.93 carat round diamond;

c. One 18 karat yellow gold diamond solitaire ring with one 14.17 carat round
diamond;

d. One 18 karat yellow gold ring with one 9.68 carat diamond;

e. One 18 karat yellow gold ring with two rows of seven diamonds, two rows of

five diamonds and two rows of three diamonds;
f. Two 2.5 carat earrings; and

g. One ring With one 10.25 carat diamond

Ex. R.

4.48 Mastro and Linda Mastro both executed an assignment purporting to transfer the Matro
Jewelry to LCY LLC - Series Jewelry.

4.49 At or about the same time of the transfer of the October 10, 2008 LCY Series Homes
Transfer of the Mastro Medina Residence and the Mastro Jewelry Transfer, Defendant Linda Mastro,
who had been placed on title of the marital community’s 2008 Rolls Royce automobile ("Mastro Rolls
Royce_") purported to transfer the Mastro Rolls Royce to LCY, LLC - Series Automobiles on October

10, 2008 ("Mastro Rolls Royce Transfer"). Exs Sl and S2.

4.50 By Letter of Acceptance dated October 10, 2008, Mastro, as manager of LCY, LLC -
Series Automobiles, accepted the gift of the Mastro Rolls Royce purportedly transferredl Ex. T.

4.51 At the 341 Meeting, Mastro testified that his estimate was that had purchased the
Mastro Rolls Royce for 8400,000. Records obtained by the Trustee indicate that the Mastro Rolls

Royce is a 2008 model. Ex. U.

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4.52 As its sole member, the LCY Trust has total control over LCY, LLC; LCY, LLC -
Series Jewelry; and LCY, LLC - Series Automobiles and thus total control over the Mastro Jewelry
and the Mastro Rolls Royce.

4.53 Mastro and Linda Mastro were the managers of the LCY, LLC, the LCY, LLC - Series
Jewelry and the LCY, LLC Series Automobiles at their inception

4.54 On May 15, Compass Trust Corporation purportedly removed the Mastros as managers
of the LCY, LLC and each series These actions required the approval of Mastro, as advisor to the
Protector of the LCY Trust. Ex. V.

Purported Grant of Deed of Trust to Concept Dorssers

4.55 The Trustee further seeks to avoid transfers in the form of deeds of trust which
Defendants Mastro, Linda Mastro and/or Michael R. Mastro caused to be placed upon the Mastro

Residence on or about February 20, 2009 and May 18, 2009, respectively

4.56 These deeds of trust are in favor of Defendant Dorssers ("Dorssers Deed of Trust") and

Defendant Foundation ("Foundation Deed Of Trust").

4.57 After the Mastro Medina Residence had been transferred to LCY, LLC 4 Series
Homes Mastro and Linda Mastro, in their capacity as managing members purported to grant a deed

of trust on the Mastro Medina Residence to Dorssers ("Mastro-Dorssers Deed of Trust"). Ex. W.

4.58 The Mastro-Dorssers Deed of Trust states that its purpose is to secure "payment of
Twelve Million and No/ 100 Dollars (812,000,000.00) with interest thereon and all other amounts
payable according to the terms of a commercial promissory note of even date herewith made by
Grantor, payable to Beneficiary or order, and any and all extensions renewals modifications or

replacements thereof, whether the same be in greater or lesser amounts (the 'Note‘)." Ex. X.

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4.59 No note has been provided to the Trustee in connection with the Mastro-Dorssers Deed

of Trust.
4.60 Dorssers was not and is not a creditor of LCY, LLC or LCY, LLC Series Homes

4.61 Dorssers gave no consideration to LCY, LLC or LCY, LLC Series Homes in exchange

for the Mastro-Dorssers Deed of Trust.

4.62 At the 341 meeting, Mastro testified that the Mastro-Dorssers Deed of Trust was

granted to secure his obligations to his "friends and family“ creditors

4.63 A document provided to the Trustee by Mastro's counsel indicates that, the scheme
behind the Mastro-Dorssers Deed of Trust was an attempt to secure Mastro's purported, pre-existing

obligations to a select few of Mastro's business acquaintances as follows:

 

 

 

 

 

 

 

 

 

Asserted Creditor Asserted Outstanding Loan
Concept Dorssers $ 1,305,580.39
Richard L. Bingham 8 142,647.42
Danielle Smith 8 75,156.74
Daniel Kirby 8 33,434.47
Scott Switzer $ 138,286.54
John J_ Durst Living Trust 8 301 ,890.61
Durst Living Trust 8 1,340,574.31
Terry Durst 810,739,899.06

 

 

 

 

Ex. X.
4.64 On September 8, 2009, subsequent to the entry of the Order for Relief in the above-
captioned bankruptcy Dorssers caused its counsel to issue a Notice of Default ("Dorssers Default

Notice") in preparation for foreclosing on the Mastro-Dorssers Deed of Trust. Ex. Y.

4.65 The Dorssers Default Notice refers to a non-existent underlying loan.

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4.66 The Dorssers Default Notice is addressed to LCY, LLC-Series Homes and to

Defendant Linda Mastro but does not include Mastro.

4.67 'l`he Trustee asserts that the Concept Dorssers Deed of Trust to hinder, delay and

defraud creditors of Mastro.
Purported Grant of Deed of Trust in Favor of Foundation.

4.68 On or about May 18, 2009, a Deed of Trust with respect to the Mastro Medina

Residence was recorded in favor of Foundation ("Mastro-Foundation Deed of Trust"). Ex. Z.

4.69 The Mastro-Foundation Deed of Trust states that its purpose is to secure a 83,000,000

loan to LCY, LLC - Series Homes
4.70 Foundation Management Inc. is closely related to Ken Sato ("Sato").
4.71 On information and belief, Sato is a long-time business associate of Mastro.

4.72 Pursuant to Mastro's testimony at the first meeting of creditors the obligation

underlying the Mastro-Foundation Deed of Trust is only 8100,000 in amount_

4.73 The granting of the Mastro-Foundation Deed of Trust violates the articles of LCY,

LLC-Series Homes
4.74 The Mastro-Foundation Deed of Trust does not secure a valid and existing obligation

4.75 The Trustee alleges that the Mastro-Foundation Deed of Trust was granted and

recorded with an intent to hinder, delay or defraud creditors

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V. FRAUDULENT TRANSFER UNDER 11 U.S.C. § 544 AND RCW 19.40 - JUNE 9, 2008
TRANSFER OF THE MEDINA RESIDENCE

5.1 Paragraphs l - lll and all subsections thereof are hereby repeated and incorporated as
though fully set forth herein

5.2 Mastro and Linda Mastro made the June 9, 2008 transfer which is avoidable pursuant
to RCW 19.40.010 et. seq.

5.3 The June 9, 2008 Transfer by Mastro and Linda Mastro to the Mastro Revocable
Living Trust was made with actual intent to hinder, delay or defraud creditors of Mastro.

5.4 The June 9, 2008 Transfer by Mastro and Linda Mastro to the Mastro Revocable
Living Trust was made without the Debtor receiving reasonably equivalent value in exchange for the
transfers

5.5 At the time of the June 9, 2008 transfer by Mastro and Linda Mastro to the Mastro
Revocable Living Trust, the Debtor was engaged in or was about to engage in business for which the
remaining assets of the Debtor were unreasonably small in relation to the business or transactions

5.6 At the time of the June 9, 2008 Transfer by Mastro and Linda Mastro to the Mastro
Revocable Living Trust, the Debtor intended to occur or reasonably should have believed that he
would incur debts beyond his ability to pay as they became due.

5.7 The June 9, 2008 Transfer by Mastro and Linda Mastro to the l\/Iastro Revocable
Living Trust was not made in exchange for reasonably equivalent value.

5.8 Mastro was insolvent on the date of the J une 9, 2008 Transfer by Mastro and Linda
Mastro to the Mastro Revocable Living Trust. Altematively, the Debtor became insolvent as a result

of the June 9, 2008 Transfer.

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VI. FRAUDULENT TRANSFER UNDER 11 U.S.C. § 548
JUNE 9, 2008 TRANSFER OF MASTRO MEDINA RESIDENCE

6.1 Paragraphs l through lV and all subsections thereof are hereby repeated and
incorporated as though set forth herein

6.2 Within two years of the filing of the bankruptcy petition herein and while the Debtor
was insolvent, Mastro and Linda Mastro made or caused to be made the June 9, 2008 Transfer to the
Mastro Revocable Living Trust.

6.3 The June 9, 2008 Transfer was a transfer of an interest in property of the Debtor.

6.4 The Debtor did not receive reasonably equivalent value for the _lune 9, 2008.

6.5 The Debtor was insolvent on the date of the J urie 9, 2008 Transfer. Alternatively, the
Debtor became insolvent as a result of the June 9, 2008 Transfer.

6.6 Mastro and Linda Mastro made or caused the June 9, 2008 Transfer to be made with
actual intent to hinder, delay and defraud creditors to whom the Debtor was indebted on or after the
date of the transfers

6.7 The June 9, 2008 Transfer is avoidable pursuant to ll U.S.C. §548 as it was a) made
with actual intent to hinder, delay or defraud creditors to whom the Debtor was indebted on or after
the date of the transfer; or b) the Debtor received less than reasonable equivalent value in exchange
for the transfer and the Debtor (i) was insolvent at the time of the transfer or became insolvent as a
result of the transfer; (ii) was engaged in business or a transaction or was about to engage in business
or a transaction for which any property remaining with the Debtor was an unreasonably small capital;
(iii) intended to incur, or believed that he would incur, debts beyond the Debtor's ability to pay as such

debts matured; or (iv) made such transfer to or for the benefit of an insider.

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VII. FRAUDULENT TRANSFER UNDER 11 U.S.C. § 544 AND RCW 19.40 -
AUGUST 22, 2008 TRANSFER OF MEDINA RESIDENCE

7.1 Paragraphs I - V and all subsections thereof are hereby repeated and incorporated as
though fully set forth herein

7.2 Mastro and Linda Mastro transferred or caused to be made the August 22, 2008
Transfer which is avoidable pursuant to RCW 19.40.010 et. seq.

7.3 The August 22, 2008 Transfer made or caused to be made by Mastro and Linda Mastro
to Mastro and Michael K. Mastro as co-trusees of the Mastro lrrevocable Trust was made with actual
intent to hinder, delay or defraud creditors of Mastro.

7.4 The August 22, 2008 Transfer made or caused to be made by Mastro and Linda Mastro
to Mastro and Michael K. Mastro as co-trustees of the Mastro lrrevocable Trust was made without the
Debtor receiving reasonably equivalent value in exchange for the transfers

7.5 At the time of the August 22, 2008 Transfer made or caused to be made by Mastro and
Linda Mastro to Mastro and Michael K. Mastro as co-trustees of the Mastro lrrevocable Trust, the
Debtor was engaged in or was about to engage in business for which the remaining assets of the
Debtor were unreasonably small in relation to the business or transactions

7.6 At the time of the August 22, 2008 Transfer made or caused to be made by Mastro and
Linda Mastro to Mastro and Michael K. Mastro as co-trustees of the Mastro lrrevocable Trust, the
Debtor intended to occur or reasonably should have believed that he would incur debts beyond his
ability to pay as they became due.

7.7 The August 22, 2008 Transfer made or caused to be made by Mastro and Linda Mastro
to Mastro and Michael K. Mastro as co-trustees of the Mastro lrrevocable Trust was not made in

exchange for reasonably equivalent value.

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7.8 Mastro was insolvent on the date of the August 22, 2008 Transfer made or caused to be
made by Mastro and Linda Mastro to Mastro and Michael K. Mastro as co-trustees of the Mastro
lrrevocable Trust. Alternatively, the Debtor became insolvent as a result of the August 22, 2008

Transfer.

VIII. FRAUDULENT TRANSFER UNDER 11 U.S.C. § 548
AUGUST 22, 2008 TRANSFER OF MASTRO MEDINA RESIDENCE

8.1 Paragraphs l through Vl and all subsections thereof are hereby repeated and
incorporated as though set forth herein

8.2 Within two years of the filing of the bankruptcy petition herein and while the Debtor
was insolvent, Mastro and Linda Mastro made or caused to be made the August 22, 2008 Transfer to
Mastro and Michael K. Mastro as co-trustees of the Mastro lrrevocable Trust.

8.3 The August 22, 2008 Transfer was a transfer of an interest in property of the Debtor.

8.4 The Debtor did not receive reasonably equivalent value for the August 22, 2008
Transfer.

8.5 The Debtor was insolvent on the date of the August 22, 2008 Transfer. Alternatively,
the Debtor became insolvent as a result of the August 22, 2008 Transfer.

8.6 Mastro and Linda Mastro made or caused the August 22, 2008 Transfer to be made
with actual intent to hinder, delay and defraud creditors to whom the Debtor was indebted on or after
the date of the transfers

8.7 The August 22, 2008 Transfer is avoidable pursuant to 11 U.S.C. §548 as it was a)
made with actual intent to hinder, delay or defraud creditors to whom the Debtor was indebted on or
after the date of the transfer; or b) the Debtor received less than reasonable equivalent value in
exchange for the transfer and the Debtor (i) was insolvent at the time of the transfer or became

insolvent as a result of the transfer; (ii) was engaged in business or a transaction or was about to

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engage in business or a transaction for which any property remaining with the Debtor was an
unreasonably small capital; (iii) intended to incur, or believed that he would incur, debts beyond the
Debtor's ability to pay as such debts matured; or (iv) made such transfer to or for the benefit of an

insider.

IX. FRAUDULENT TRANSFER UNDER 11 U.S.C. § 544 AND RCW 19.40 -
OCTOBER 10, 2008 LCY SERIES HOMES TRANSFER - MASTRO MEDINA RESIDENCE

9.1 Paragraphs l - VIl and all subsections thereof are hereby repeated and incorporated as
though fully set forth herein

9.2 Defendants Mastro, Linda Mastro and/or Michael K. Mastro made or caused to be
made the October 10, 2008 LCY Series Homes Transfer which is avoidable pursuant to RCW
19.40.010 et. seq.

9.3 The October 10, 2008 LCY Series Homes Transfer made or caused to be made by
Mastro, Linda Mastro and/or l\/lichael K. Mastro was made with actual intent to hinder, delay or
defraud creditors of Mastro.

9.4 The October 10, 2008 LCY Series Homes Transfer made or caused to be made by
Mastro, Linda Mastro and/or Michael K. Mastro was made without the Debtor receiving reasonably
equivalent value in exchange for the transfers

9.5 At the time of the October 10, 2008 LCY Series Homes Transfer made or caused to be
made by Mastro, Linda Mastro and/or Michael K. Mastro, the Debtor was engaged in or was about to
engage in business for which the remaining assets of the Debtor were unreasonably small in relation to

the business or transactions

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9.6 At the time of the October 10, 2008 LCY Series Homes Transfer made or caused to be
made by Mastro, Linda Mastro and/or Michael K. Mastro, the Debtor intended to occur or reasonably
should have believed that he would incur debts beyond his ability to pay as they became due.

9.7 The October 10, 2008 LCY Series Homes Transfer made or caused to be made by
Mastro, Linda Mastro and/or Michael K. Mastro was not made in exchange for reasonably equivalent
value.

9.8 Mastro was insolvent on the date of the October 10, 2008 LCY Series Homes Transfer
made or caused to be made by Mastro, Linda Mastro and/or Michael K. Mastro. Altematively, the
Debtor became insolvent as a result of the October 10, 2008 LCY Series Homes Transfer.

X. FRAUDULENT TRANSFER UNDER 11 U.S.C. § 548 -
OCTOBER 10, 2008 LCY SERIES HOMES TRANSFER - MASTRO MEDINA RESIDENCE

10.1 Paragraphs l through Vlll and all subsections thereof are hereby repeated and
incorporated as though set forth herein

10.2 Within two years of the filing of the bankruptcy petition herein and while the Debtor
was insolvent, Mastro, Linda Mastro and/or Michael K. Mastro made or caused to be made the
October 10, 2008 LCY Series Homes Transfer.

10.3 The October 10, 2008 LCY Series Home Transfer was a transfer of an interest of the
Debtor in property

10.4 The Debtor did not receive reasonably equivalent value in exchange for the October 10,
2008 LCY Series Homes Transfer.

10.5 The Debtor was insolvent on the date of the October 10, 2008 LCY Series Homes
Transfer. Altematively, the Debtor became insolvent as a result of the October 10, 2008 LCY Series
Homes Transfer.

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10.6 Mastro, Linda Mastro and/or Michael K. Mastro made or caused the October 10, 2008
LCY Series Homes Transfer to be made with actual intent to hinder, delay and defraud creditors to
whom the Debtor was indebted on or after the date of the transfers

10.7 The October 10, 2008 LCY Series Homes Transfer is avoidable pursuant to l 1 U.S.C.
§548 as it was a) made with actual intent to hinder, delay or defraud creditors to whom the Debtor was
indebted on or after the date of the transfers or b) the Debtor received less than reasonable equivalent
value in exchange for the transfer and the Debtor (i) was insolvent at the time of the transfer or
became insolvent as a result of the transfer; (ii) was engaged in business or a transaction or was about
to engage in business or a transaction for which any property remaining with the Debtor was an
unreasonably small capital; (iii) intended to incur, or believed that he would incur, debts beyond the
Debtor's ability to pay as such debts matured; or (iv) made such transfer to or for the benefit of an

insider.

XI. FRAUDULENT TRANSFER UNDER 11 U.S.C. § 544 AND RCW 19.40
MASTRO JEWELRY TRANSFER

11.1 Paragraphs l - lX and all subsections thereof are hereby repeated and incorporated as
though fully set forth herein

l 1.2 Mastro and Linda Mastro transferred or caused to be made the Mastro Jewelry Transfer
which is avoidable pursuant to RCW 19.40.010 et. seq.

11.3 The Mastro Jewelry Transfer made or caused to be made by Mastro and Linda Mastro
to the LCY, LLC - Series Jewelry was made with actual intent to hinder, delay or defraud creditors of

Mastro.

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1 1.4 The Mastro J ewe1ry Transfer made or caused to be made by Mastro and Linda Mastro
to LCY, LLC - Series Jewelry was made Without the Debtor receiving reasonably equivalent value in
exchange for the transfer.

11_5 At the time of the Mastro Jewelry Transfer made or caused to be made by Mastro and
Linda Mastro to LCY, LLC ~ Series Jewelry, the Debtor was engaged in or was about to engage in
business for which the remaining assets of the Debtor were unreasonably small in relation to the
business or transactions

1 1.6 At the time of the Mastro Jewelry Transfer made or caused to be made by Mastro and
Linda Mastro to LCY, LLC - Series Jewelry, the Debtor intended to occur or reasonably should have
believed that he would incur debts beyond his ability t0 pay as they became due.

l 1.7 The Mastro Jewelry Transfer made or caused to be made by Mastro and Linda Mastro
to LCY, LLC 4 Series Jewelry was not made in exchange for reasonably equivalent value.

11.8 Mastro was insolvent on the date of the Mastro Jewelry Transfer. Alternatively, the

Debtor became insolvent as a result of the Mastro Jewelry Transfer.

XII. FRAUDULENT TRANSFER UNDER 11 U.S.C. § 548
MASTRO JEWELRY TRANSFER

12_1 Paragraphs l through X and all subsections thereof are hereby repeated and
incorporated as though set forth herein

12.2 Within two years of the filing of the bankruptcy petition herein and while the Debtor
was insolvent, Mastro and Linda Mastro made or caused to be made the Mastro Jewelry Transfer.

12.3 The Mastro Jewelry Transfer was a transfer of an interest of the Debtor in property

12.4 The Debtor did not receive reasonably equivalent value in exchange for the Mastro

Jewelry Transfer.

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12.5 The Debtor was insolvent on the date of the Mastro Jewelry Transfer. Altematively,
the Debtor became insolvent as a result of the Mastro Jewelry Transfer.

12.6 Mastro and Linda Mastro made or caused the Mastro Jewelry Transfer to be made with
actual intent to hinder, delay and defraud creditors to whom the Debtor was indebted on or aHer the
date of the transfers

12.7 The Mastro Jewelry Transfer is avoidable pursuant to 11 U.S.C. §548 as it was a) made
with actual intent to hinder, delay or defraud creditors to whom the Debtor was indebted on or after
the date of the transfers or b) the Debtor received less than reasonable equivalent value in exchange
for the transfer and the Debtor (i) was insolvent at the time of the transfer or became insolvent as a
result of the transfer; (ii) was engaged in business or a transaction or was about to engage in business
or a transaction for which any property remaining with the Debtor was an unreasonably small capital;
(iii) intended to incur, or believed that he would incur, debts beyond the Debtor's ability to pay as such

debts matured; or (iv) made such transfer to or for the benefit of an insider.

XIII. FRAUDULENT TRANSFER UNDER 11 U.S.C. § 544 AND RCW 19.40 - MASTRO
ROLLS ROYCE TRANSFER

13.1 Paragraphs l - Xl and all subsections thereof are hereby repeated and incorporated as
though fully set forth herein

13.2 Mastro and Linda Mastro transferred or caused to be made the Mastro Rolls Royce
Transfer which is avoidable pursuant to RCW 19.40.010 et. seq.

13.3 The Mastro Rolls Royce Transfer made or caused to be made by Mastro and Linda
Mastro to the LCY, LLC - Series Jewelry was made with actual intent to hinder, delay or defraud

creditors of Mastro.

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13.4 The Mastro Rolls Royce Transfer made or caused to be made by Mastro and Linda
Mastro to LCY, LLC - Series Jewelry was made without the Debtor receiving reasonably equivalent
value in exchange for the transfer.

13.5 At the time of the Mastro Rolls Royce Transfer made or caused to be made by Mastro
and Linda Mastro to LCY, LLC - Series Jewelry, the Debtor was engaged in or was about to engage
in business for which the remaining assets of the Debtor were unreasonably small in relation to the
business or transactions

13.6 At the time of the Mastro Rolls Royce Transfer made or caused to be made by Mastro
and Linda Mastro to LCY, LLC - Series Jewelry, the Debtor intended to occur or reasonably should
have believed that he would incur debts beyond his ability to pay as they became due.

13.7 The Mastro Rolls Royce Transfer made or caused to be made by Mastro and Linda
Mastro to LCY, LLC - Series Jewelry was not made in exchange for reasonably equivalent value.

13.8 Mastro was insolvent on the date of the Mastro Rolls Royce Transfer. Alternatively,

the Debtor became insolvent as a result of the Mastro Rolls Royce Transfer.

XIV. FRAUDULENT TRANSFER UNDER 11 U.S.C. § 548 - MASTRO ROLLS ROYCE
TRANSFER

14.1 Paragraphs l through Xll and all subsections thereof are hereby repeated and
incorporated as though set forth herein

14.2 Within two years of the filing of the bankruptcy petition herein and while the Debtor
was insolvent, Mastro and Linda Mastro made or caused to be made the Mastro Rolls Royce Transfer.

14.3 The Mastro Rolls Royce Transfer was a transfer of an interest of the Debtor in

property

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14.4 The Debtor did not receive reasonably equivalent value in exchange for the Mastro
Rolls Royce Transfer.

14.5 The Debtor was insolvent on the date of the Mastro Rolls Royce Transfer.
Altematively, the Debtor became insolvent as a result of the Mastro Rolls Royce Transfer.

14.6 Mastro and Linda Mastro made or caused the Mastro Rolls Royce Transfer to be made
with actual intent to hinder, delay and defraud creditors to whom the Debtor was indebted on or after
the date of the transfers

14.7 The Mastro Rolls Royce Transfer is avoidable pursuant to 11 U.S.C. §548 as it Was a)
made with actual intent to hinder, delay or defraud creditors to whom the Debtor was indebted on or
after the date of the transfers or b) the Debtor received less than reasonable equivalent value in
exchange for the transfer and the Debtor (i) was insolvent at the time of the transfer or became
insolvent as a result of the transfer', (ii) was engaged in business or a transaction or Was about to
engage in business or a transaction for which any property remaining with the Debtor was an
unreasonably small capital; (iii) intended to incur, or believed that he would incur, debts beyond the
Debtor's ability to pay as such debts matured', or (iv) made such transfer to or for the benefit of an
insider.

XV. FRAUDULENT TRANSFER UNDER 11 U.S.C. § 544 AND RCW 19.40
MASTRO-DORSSERS DEED OF TRUST ON MEDINA RESIDENCE

15.1 Paragraphs l - Vlll and all subsections thereof are hereby repeated and incorporated as
though fully set forth herein

15.2 Defendants LCY, LLC- Series Homes Mastro and Linda Mastro made or caused to be
made the Mastro-Dorssers Deed of Trust Transfer which is avoidable pursuant to RCW 19.40.010 et.
seq.

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15.3 The Mastro-Dorssers Deed of Trust Transfer made or caused to be made by LCY, LLC
- Series Homes Mastro and Linda Mastro was made with actual intent to hinder, delay or defraud
creditors of Mastro.

15.4 The Mastro-Dorssers Deed of Trust Transfer made or caused to be made by LCY, LLC
- Series Homes Mastro and Linda Mastro was made without the Debtor receiving reasonably
equivalent value in exchange for the transfers

15.5 At the time of the Mastro-Dorssers Deed of Trust Transfer made or caused to be made
by LCY, LLC - Series Homes Mastro and Linda Mastro, the Debtor was engaged in or was about to
engage in business for which the remaining assets of the Debtor were unreasonably small in relation to
the business or transactions

15.6 At the time of the Mastro-Dorssers Deed of Trust Transfer made or caused to be made
by LCY, LLC - Series Homes Mastro and Linda Mastro, the Debtor intended to occur or reasonably
should have believed that he would incur debts beyond his ability to pay as they became due.

15.7 The Mastro-Dorssers Deed of Trust Transfer made or caused to be made by LCY, LLC
- Series Homes Mastro and Linda Mastro was not made in exchange for reasonably equivalent value.

15.8 Mastro was insolvent on the date of the Mastro-Dorssers Deed of Trust Transfer made
or caused to be made by LCY, LLC - Series Homes Mastro and Linda Mastro. Alternatively, the

Debtor became insolvent as a result of the Mastro-Dorssers Deed of Trust Transfer.

XVI. FRAUDULENT 'I`RANSFER UNDER 11 U.S.C. § 548
MASTRO-DORSSERS DEED OF TRUST ON MASTRO MEDINA RESIDENCE

16.1 Paragraphs l through XlV and all subsections thereof are hereby repeated and

incorporated as though set forth herein

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16.2 Within two years of the filing of the bankruptcy petition herein and while the Debtor
was insolvent, LCY, LLC - Series Homes Mastro and Linda Mastro made or caused to be made the
Mastro-Dorssers Deed of Trust Transfer.

16.3 The Mastro-Dorssers Deed of Trust Transfer was a transfer of an interest of the Debtor
in property

16.4 The Debtor did not receive reasonably equivalent value for the Mastro-Dorssers Deed
of Trust Transfer.

16.5 The Debtor was insolvent on the date of the Mastro-Dorssers Deed of Trust Transfer.
Alternatively, the Debtor became insolvent as a result of the Mastro-Dorssers Deed of Trust Transfer.

16.6 LCY, LLC - Series Homes Mastro and Linda Mastro made or caused the Mastro-
Dorssers Deed of Trust Transfer to be made with actual intent to hinder, delay and defraud creditors to
whom the Debtor was indebted on or after the date of the transfers

16.7 The Mastro-Dorssers Deed of Trust Transfer is avoidable pursuant to 11 U.S.C. §548
as it was a) made with actual intent to hinder, delay or defraud creditors to whom the Debtor was
indebted on or after the date of the transfer; or b) the Debtor received less than reasonable equivalent
value in exchange for the transfer and the Debtor (i) was insolvent at the time of the transfer or
became insolvent as a result of the transfer; (ii) was engaged in business or a transaction or was about
to engage in business or a transaction for which any property remaining with the Debtor was an
unreasonably small capital; (iii) intended to incur, or believed that he would incur, debts beyond the
Debtor's ability to pay as such debts matured; or (iv) made such transfer to or for the benefit of an

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XVII. FRAUDULENT TRANSFER UNDER 11 U.S.C. § 544 AND RCW 19.40
MASTRO-FOUNDATION DEED OF TRUST ON MASTRO MEDINA RESIDENCE

17.1 Paragraphs l - XV and all subsections thereof are hereby repeated and incorporated as
though fully set forth herein

17.2 Defendants LCY, LLC Series Homes and Mastro and Linda Mastro made or caused to
be made the Mastro-Foundation Deed of Trust Transfer which is avoidable pursuant to RCW
19.40.010 et. seq.

17.3 The Mastro-Foundation Deed of Trust Transfer made or caused to be made by LCY,
LLC Series Homes and Mastro and Linda Mastro was made with actual intent to hinder, delay or
defraud creditors of Mastro.

17.4 The Mastro-Foundation Deed of Trust Transfer made or caused to be made by LCY,
LLC Series Homes and Mastro and Linda Mastro was made without the Debtor receiving reasonably
equivalent value in exchange for the transfers

17.5 At the time of the Mastro-Foundation Deed of Trust Transfer made or caused to be
made by LCY, LLC Series Homes and Mastro and Linda Mastro, the Debtor was engaged in or was
about to engage in business for which the remaining assets of the Debtor were unreasonably small in
relation to the business or transactions

17.6 At the time of the Mastro-Foundation Deed of Trust Transfer made or caused to be
made by LCY, LLC Series Homes and Mastro and Linda Mastro, the Debtor intended to occur or
reasonably should have believed that he would incur debts beyond his ability to pay as they became

due.

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17.7 The Mastro-Foundation Deed of Trust Transfer made or caused to be made by LCY,
LLC Series Homes and Mastro and Linda Mastro was not made in exchange for reasonably equivalent
value.

17.8 Mastro was insolvent on the date of the Mastro-Foundation Deed of Trust Transfer
made or caused to be made by LCY, LLC Series Homes and Mastro and Linda Mastro.
Altematively, the Debtor became insolvent as a result of the Mastro-Foundation Deed of Trust

Transfer.

XVIII. FRAUDULENT TRANSFER UNDER 11 U.S.C. § 548
MASTRO-FOUNDATION DEED OF TRUST - MASTRO MEDINA RESIDENCE

18.1 Paragraphs l through XVl and all subsections thereof are hereby repeated and
incorporated as though set forth herein

18.2 Within two years of the filing of the bankruptcy petition herein and while the Debtor
was insolvent, LCY, LLC Series Homes and Mastro and Linda Mastro made or caused to be made the
Mastro-Foundation Deed of Trust Transfer.

18.3 The Mastro-Foundation Deed of Trust Transfer was a transfer of an interest of the
Debtor in property

18.4 The Debtor did not receive reasonably equivalent value for the Mastro-Foundation
Deed of Trust Transfer.

18.5 The Debtor was insolvent on the date of the Mastro-Foundation Deed of Trust
Transfer. Alternatively, the Debtor became insolvent as a result of the Mastro-Foundation Deed of

Trust Transfer.

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18.6 LCY, LLC Series Homes and Mastro and Linda Mastro made or caused the Mastro-
Foundation Deed of Trust Transfer to be made with actual intent to hinder, delay and defraud creditors
t0 whom the Debtor was indebted on or after the date of the transfers

18.7 The Mastro-Foundation Deed of Trust rTransfer is avoidable pursuant to 11 U.S.C.
§548 as it was a) made with actual intent to hinder, delay or defraud creditors to whom the Debtor was
indebted on or after the date of the transfer; or b) the Debtor received less than reasonable equivalent
value in exchange for the transfer and the Debtor (i) was insolvent at the time of the transfer or
became insolvent as a result of the transfer; (ii) was engaged in business or a transaction or was about
to engage in business or a transaction for which any property remaining with the Debtor was an
unreasonably small capital; (iii) intended to incur, or believed that he would incur, debts beyond the
Debtor's ability to pay as such debts matured; or (iv) made such transfer to or for the benefit of an

insider.

XIX. ACTION TO QUIET TITLE
MASTRO MEDINA RESIDENCE

19.1 Paragraphs l through XVll and all subsections thereof are hereby repeated and
incorporated as though set forth herein

19.2 Mastro, the Mastro Revocable Living Trust, the Mastro lrrevocable Trust, LCY, LLC,
LCY, LLC, LCY Trust, Dorssers Foundation and/or any of the other Defendants herein may claim an
interest in the Mastro Medina Residence adverse to the Trustee. However, any claim or claims of any
of such Defendants is without any right whatsoever, and the Defendants have no legal or equitable
right, claim, or interest in the Mastro l\/Iedina Residence

19.3 The Trustee, therefore, seeks a declaration that the title to the Mastro Medina

Residence is vested in the Trustee alone and that any and all of the Defendants herein be declared to

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have no estate, right, title or interest in the Mastro Medina Residence and that each of the Defendants
be forever enjoined from asserting any estate, ri ght, title or interest in the subject property adverse to

plaintiff herein

XX. INJUNCTIVE RELIEF

20.1 Paragraphs 1 through XIII and all subsections thereof are hereby repeated and
incorporated as though set forth herein

20.2 Mastro has transferred or caused to be transferred substantial amounts of property of
the estate into LCY, LLC - Series Home; LCY, LLC - Series Automobiles; and LCY, LLC - Series
Jewelry.

20.3 The LCY, LLCs are purportedly under control of a third party or third parties

20.4 Any and all parties should be restrained from l) exercising any possession dominion
or control over or 2) attempting in any way to gain possession dominion or control of any of the assets
transferred or purportedly transferred to LCY, LLC - Series Horne; LCY, LLC - Series Automobiles
and LCY, LLC - Series Jewelry until such time a determination is made on the merits of this

complaint and the ownership of the property that is the subject of this Complaint.

XXI. PRESERVATION OF AVOIDED TRANSFERS

21 .1 Paragraphs 1 through XVlll above and all subsections thereof are hereby repeated and
incorporated as though fully set forth herein
21 ,2 Any and all transfers avoided under the claims for relief set forth in Paragraphs l-

XVlll, above, are preserved for the benefit of the estate pursuant to 11 U.S.C. §551.

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XXII. RESERVATION OF RIGHT TO ADD ADDITIONAL DEFENDANTS

22.1 Paragraphs l through XX above and all subsections thereof are hereby repeated and
incorporated as though fully set forth herein

22.2 lf, in the conducting of discovery with respect to the fraudulent transfers asserted
herein it becomes evident that other parties in addition to the existing Defendants conspired in these
fraudulent conveyances the Trustee reserves the right to add those parties as defendants

XXIII. PRAYER FOR RELIEF

WHEREFORE, the Trustee prays for the following relief:

23.1 That the Court determine the transfers of the debtors residence, legally described in
Exhibit A, by the Debtor to defendants the Mastro Revocable Lilving Trust, the Mastro lrrevocable
Trust, and LCY, LLC - Series Home constitute fraudulent transfers pursuant to 11 U.S.C. 548 and/or
RCW 19.40 et.seq_

23.2 That the Court determine the granting of the Mastro-Concept Dorssers Deed of Trust
constitutes an avoidable fraudulent transfer pursuant to 11 U.S.C. 548 and/or RCW 19.40 et.seq.

23.3 That the Court determine the granting of the Foundation Deed of Trust constitutes an
avoidable fraudulent transfer pursuant to 11 U.S.C. 548 and/or RCW 19.40 et.seq.

23.4 That the Court determine the Mastro Jewelry Transfer constitutes a fraudulent transfer
pursuant to 11 U.S.C. 548 and/or RCW 19.40 et.seq.

23.5 That the Court determine the Mastro Rolls Royce Transfer constitutes a fraudulent
transfer pursuant to 1 1 U.S.C. 548 and/or RCW 19.40 et.Seq.

23.6 That the Court enter a judgment against Linda A. Mastro for damages as determined by

the Court for her cooperation and participation in fraudulently transferring the Mastro Medina

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1 Residence, the Mastro Jewelry and the Mastro Rolls Royce and encumbering the Mastro Medina
2 Residence with the Mastro-Dorssers Deed of Trust and the Mastro-Foundation Deed of Trust.
3 23.7 That the Court enter a judgment against Michael K. Mastro for damages as determined
4 by the Court for his cooperation and participation in the fraudulent transfer of the Mastro Medina
5 Residence',
6 23.8 That the Court enter a judgment quieting title with respect to the Mastro Medina
7 Residence, the Mastro Jewelry and the Mastro Rolls Royce.
8 23.9 That the Court enjoin the all defendants from performing or exercising any acts to
9 interfere with the estate’s ownership of the transferred assets including but not limited to any acts to
10 transfer title to, seek to encumber, and/or seek to foreclose upon the purported secured obligations
1 1 against any of the transferred assets identified herein
12 23.10 That the Court preserve all transfers avoided hereunder for the benefit of the estate
13 pursuant to 11 U.S.C. 551.
14 23.10 For such other just and equitable relief as the Court shall deem proper.
15 DATED this gliday of September, 2009.
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13 By §§me w
Gayle E. Bus ,WSBA #07318
19 christine rvr robin wsBA #27628
20 Attomeys for J ames Rigby, Chapter 7 Trustee
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